Case 2:04-Cv-02900-.]PI\/|-tmp Document 5 Filed 06/30/05 Page 1 of 2 Page|D 8

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TERENCE LEE STOKES' JUDGMENT IN A CIVIL CASE
Plaintiff,
v.
SHELBY COUNTY, et al., CASE NO: 04-2900 Ml/P
Defendants.
JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDEIRED,r ADJUDGED, AND DECREED that, in
accordance with the Order of Dismissal entered June‘§§;, 2005,
this case is DISMISSED.

APPROVED:

MmM

ON P. MCCALLA
UN ED STATES DISTRICT JUDGE

/QIU\N 30 399§ THOMAS M»GOu-D

Kz:g Clerk of Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:04-CV-02900 Was distributed by faX, mail, or direct printing on
July ], 2005 to the parties listed.

 

 

Terence Lee Stokes

SHELBY COUNTY CORRECTIONAL COi\/[PLEX
1045 Mullins Station Road

i\/lemphis7 TN 38134

Honorable J on McCalla
US DISTRICT COURT

